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UNITED STATES DISTRICT COURT NORTHERN DISTRICT OF TEXAS”
EMPLOYMENT DISCRIMINATION COMPLAINT FOR PRO-SE'EITIGANTS IP
ACTIONS FILED UNDER 42 U.S.C. § 2000e, et seq., (Title, MII of, the Civil mS
Rights Act), 42 USC §1981, 42 U.S.C. § 12112, et seq., "(Americans with |
Disabilities Act), 29 U.S.C. § 701, the Rehabilitation Act of 1973 as
amended (29 U.S.C. 720 et seq.) Family and Medical Leave Act of 1993

as amended (29 U.S.C. 2601 et seq.), (including prohibition of willful
interference, discrimination and retaliation, see section 12:2.11)

COMPLAINT

Keith V. Otto v. Collin College, Case No.:

 

PLAINTIFF REQUESTS A TRIAL BY JURY.
PARTIES TO THIS COMPLAINT
Plaintiff

Keith V. Otto

514 Wentworth Drive

Richardson, (Dallas County)

Texas 75081

(214) 636-9996 (Cell)

kvotto@gmail.com / keithottomba@gmail.com

 

Defendant

COLLIN COLLEGE

Floyd W. Nickerson, Chief Human Resources Officer
Collin Higher Education Center

3452 Spur 399, 3rd floor

McKinney, (Collin County)

Texas 75069

COLLIN COLLEGE

c/o Kim Moore, Attorney for Defendant
Clark Hill

2600 Dallas Parkway, Suite 600

Frisco, Texas 75034
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Il. BASIS FOR JURSIDICTION

This case is brought for discrimination in employment pursuant to: a) Title
VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. § 2000e - § 2000e-17
(race, African American, color, and national origin) and _ retaliatory
imposition of discipline and retaliatory discharge for filing internal complaint
of discrimination against my immediate supervisor; b) 42 USC §1981 hostile
environment claim; c) Americans with Disabilities Act (as amended) of 1990
[A.D.A.], as codified, 42 U.S.C. § 12112 to § 12117, including, but not limited
to intentional denial of timely requests for accommodation and retaliation
for seeking accountability for the illegal actions of my supervisor, who
ordered white co-workers to review my case records, and who did not hold
those co-workers accountable for their performance shortcomings and
otherwise retaliated against my efforts to obtain fair and appropriate
accommodations; d) the Rehabilitation Act of 1973 as amended, (29 U.S.C.
720 et seq.) and retaliation thereunder; and Family and Medical Leave Act of
1993 as amended, (29 U.S.C. 2601 et seq.) (including prohibition of willful
interference, discrimination and retaliation, see section 12:2.11) thereunder
by my supervisor who, among other acts of misconduct, tried to deprive me
of an approved FMLA leave by seeking to terminate my employment during
the pendency of that approved leave and e) the Family Medical Leave Act.

The Notice of Right to Sue letter from the Equal Employment Opportunity
Commission has been issued under relevant Law.

Ill. Additional STATEMENT OF CLAIM of Employment Discrimination

A. The discriminatory conduct at issue includes, but is not limited to: (1)
Failure to timely reasonably accommodate disability; (2)Unequal terms and
conditions of employment; (3) Retaliation; (4) Other acts including
supervisor's false assertions to Collin College’s management and human
resource staff that the organization which supervised our small business
development center required that notes of meetings with clients had to be
entered in a database within a certain time frame, supervisor’s effort to
cover-up a white co-worker’s assault on me, that supervisor’s effort to
terminate my employment during an approved leave under the Family
Medical Leave Act, that supervisor’s campaign of demanding that white co-
workers spy on my database entries in order to report to her any lapse in

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data entry, including trivial grammatical mistakes, and that same
supervisor’s urging her acquaintances to falsely claim that my appropriate

guidance to them regarding business formation was not sufficient. My

workplace was permeated with discriminatory intimidation, ridicule and
insult which adversely altered the conditions of my employment in violation
of §1981 and the other statutes recited within.
B. The alleged discriminatory acts occurred throughout my employment,

including not approving my initial request for accommodation for well over

two years, not until a few months before my wrongful termination, which
was fomented by my supervisor’s knowing failure to disclose where two
social security numbers were embedded in a lengthy document: rather than
simply removing those two numbers herself or timely informing me where |
could locate them in a lengthy document, she intentionally withheld the
information from me and then sought and obtained my termination because
she claimed | did not quickly enough remove those numbers: to date, Collin
College has not disclosed that my work with the client in that matter yielded
his obtaining a multi-million dollar loan and thereby opening a successful
medical clinic and medical practice.
C. | am an African American male. | was born in Antigua and Barbuda and
moved to the United States when | was 15 years old. On May 13, 2015, Collin
College (or ‘the College”) hired me as a business advisor for its Collin Small

Business Development Center (“Collin SBDC” or “Center”). My supervisor
was the Center’s manager, Ms. Marta Gomez Frey. Supervisor Gomez Frey

arbitrarily disciplined me and later terminated me, relying heavily on her
falsely claiming that my database entries violated standards mandated by

our funding source: Collin SBDC (“the Center”) is a subcontractor of the

North Texas Small Business Development Center (“NTSBDC”), which provides
most of the Center’s funding from grants which it receives from the United
States (“Federal”) and Texas state government. In late December, 2018, the
College upheld Ms. Gomez Frey’s termination of my employment.

Supervisor Gomez Frey created a hostile work environment against me and
discriminated against me because of my race and disability. She frequently
tasked her staff, my co-workers, to monitor my database entries and report
any supposed shortcomings to her. She showed continual favoritism toward

the white co-workers, sometimes transferring my clients to them, and not

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holding them to important standards. Amongst other things, Ms. Gomez
Frey ordered those white co-workers to search my database in “Neoserra”
to document any instances when | did not enter certain client data within
five days of assisting those clients. Neither | nor the other black professional

were ever tasked to monitor the white co-workers’ databases. Moreover,

she overlooked those white co-workers’ failure to meet certain performance
benchmarks which | routinely satisfied. And she manipulated the
promotional requirements and then she preselected and promoted a white
business advisor, passing over a subsequently hired very qualified black co-
worker.

Supervisor Gomez Frey’s office adjoined mine. Despite knowing about my

disability, she undermined my productivity by frequently interrupting my
work efforts. | tried to remedy this problem and sought appropriate work
accommodations. But Ms. Gomez Frey unreasonably opposed my requests

for reasonable accommodation and leave, including under the Family
Medical Leave Act. After my emergency hospital admission for heart
problems, she was ordered to stand down in that effort to stop processing
of my FML application in February, 2018.

In late 2017, Ms. Frey tried to cover up a white male business advisor’s

threatening behavior toward me. All co-workers saw this co-worker

screaming and cursing profanities at me in an office meeting: then he jumped
up, bolted from our meeting and left work for the day. His unprovoked

misconduct was a clear violation of Collin College and Collin SBDC standards

which warranted his written discipline. Though it was clearly a reportable
event, Ms. Gomez Frey tried to cover up his misconduct by not reporting it.

Then she tried to undermine the subsequent investigation of his misconduct

by the human resources (HR) generalist assigned to our unit. That HR

generalist conducted an independent investigation by interviewing all unit
members. Her investigation disclosed Ms. Frey’s efforts to cover up the white

co-worker’s threatening behavior towards me. As a result, that white male
co-worker was given step one written discipline over Ms. Frey’s objections.
But | doubt Ms. Gomez Frey was disciplined for her attempted cover-up.

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In ‘mid 2018, this same HR generalist discovered Ms. Gomez Frey had lied to
her by claiming that the NTSBDC was requiring her to impose a timeliness
standards on me concerning typing notes into the Neoserra database. Ms.
Frey falsely claimed that those entries had to be made within five days of the
actual client contact so she had to discipline me when | did not complete the
entries in that time frame. Of course, she did not discipline my white male
coworkers when they did not meet supposed mandatory requirements.
None of my co-workers were spied on, or placed under this pressure by Ms.
Frey. In fact, the NTSBDC leadership told the HR staffer in the spring of 2018
that, in response to my American with Disabilities Act as Amended “ADA
accommodation” request, it was appropriate to permit me to enter details
of client contact within five work days in the month following the month in
which | had met with the agency client (the 5 day rule). Ms. Gomez Frey had
perennially falsely claimed those entries had to be made within five days of
the actual contact.

Shortly after this HR staffer reported Ms. Gomez Frey’s misrepresentations,
that staffer was abruptly transferred to another campus. So despite how
much she had learned about my mistreatment, she was removed from
investigating human resources activities in my workplace, the Collin SBCD,
Courtyard Campus. The HR generalist who replaced her had no interest in
assuring that | would be treated fairly by a supervisor who had been caught
lying to the HR department and Collin College leadership in general. My last
request for accommodation was made in ‘mid March, 2018, immediately
following my month long FMLA absence. But it was not approved until
August, 2018 (and, even then, it fell short of my request.) | was never given
that accommodation. If | had timely obtained the accommodation, | would
have met reasonable performance expectations; this, in turn, would have
undermined Ms. Frey’s excuse for firing me. So her most recent obstruction
of the ADA accommodation process effectively denied me_ the
accommodation: she delayed my obtaining warranted accommodation for
over six months and, then, when it was only approved in part, she never
permitted its implementation. So when Ms. Gomez Frey recommended my
firing in ‘mid October, 2018, | had not received the requested
accommodation for seven months immediately following my month long
FMLA absence. So | was not accommodated for more than half of the rating

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period because Ms. Gomez Frey thwarted me, but that did not stop Ms.
Gomez Frey from imposing performance standards for a full year to “justify”
the unacceptable rating she used to support my termination.

Ms. Gomez Frey imposed a hostile environment on me and fired me because
of my disability, my race, African American, and my effort to fairly obtain
accommodations. She illegally obstructed the accommodation process. She
persistently lied to and manipulated the College’s human resource
professionals and Collin College management. Ultimately, she succeeded.
Ms. Gomez Frey used her “cat’s paws” to manipulate higher level Collin
College management. | would still be an employee of the Collin SBDC if she
had followed NTSBDC guidance. Her abuse could threaten that funding. If
Ms. Gomez Frey had not lied to Collin College, she would not have been able
to issue bogus performance discipline, without which my subsequent
termination would not be sustainable.

Around the time she fired me, she also impermissibly promoted the same
white co-worker who had assaulted me a year earlier. This white male co-
worker was the only one that Ms. Gomez Frey approved for a particular
training event. Then she cynically revised the promotional job description to
require that particular training. In so doing, Ms. Frey blocked an experienced
African American female business advisor from applying for that same
promotion. On December 4, 2018, that black co-worker testified that one of
the reasons she quit was because of Ms. Gomez Frey’s referenced
misconduct.

Plaintiff was employed by Defendant from May 13, 2015 until October 11,
2018.

The location where Plaintiff was employed or sought employment was:
Collin College

Collin Small Business Development Center (SBDC)

Courtyard Center

4800 Preston Park Boulevard

Plano, TX 75093

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IV. EXHAUSTION OF FEDERAL ADMINISTRATIVE REMEDIES

A. Plaintiff filed dual charges against Defendant with the Dallas District of the
United States Equal Employment Opportunity Commission and the Texas
Workforce Commission’s Civil Rights Division on June 14, 2019

B. Respondent named on the charging document were served with the EEOC
Charge, No. 450-2019-04969, in a timely fashion. A copy of the filed EEOC
Charge is attached hereto. (Exhibit A) This Charge was based on my Color
(African American), National Origin (Antigua and Barbuda), my disabilities,
dyslexia and ADHD, and in opposition to pervasive retaliation against me by
my immediate supervisor, other managers and “leadership” in the human
resources department. As noted above, Respondent also violated my rights
under the Family Medical Leave Act and the Rehabilitation Act and
Defendant repeatedly delayed consideration of my request for reasonable
accommodations. At the same time, my supervisor did not hold white male
co-workers accountable for their repeated failure to spend a minimum
number of hours each year working directly with prospective and actual
clients of our Small Business Development Center. And | was fired on a
pretext when, in fact, my objective key accomplishments for the full year in
question equaled or exceeded the accomplishments of the two white male
co-workers who were rewarded for spying on my client records. Moreover,
especially during the last year of employment at Collin College, my supervisor
was chronically absent from the workplace.

V. RELIEF

Defendant should be directed to compensate me for lost back wages and
other incidents of employment, such as offering re-employment and
readjusting my dates of employment so that | may be eligible for certain
pension benefits that have been denied to me. | am also seeking
compensatory damages for emotional distress resulting from discriminatory
employment practices. Plaintiff requests that Defendant be directed to re-
employ Plaintiff. Plaintiff seeks costs and fees involved in litigating this case
and such other relief as may be appropriate, including attorney's fees, if
applicable if counsel is subsequently engaged.

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VI. CERTIFICATION

As required by Federal Rule of Civil Procedure 11, | certify by signing below
that to the best of my knowledge, information, and belief, this Complaint: (1)
is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is
supported by existing law or by a non-frivolous argument for extending,
modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the Complaint
otherwise complies with the requirements of Rule 11.

A. For Parties Without an Attorney

| agree to provide the Clerk’s Office with any changes to my address where
case-related papers may be served. | understand that my failure to keep a
current address on file with the Clerk’s Office may result in the dismissal of
my case.

Date of signing: November 4, 2021
Keith V. Digitally signed by Keith V. Otto

DN: cn=Keith V. Otto, 0, ou,

 

email=kvotto@gmail.com, c=US

Signatu re of Plaintiff: Otto Date: 2021.11.04 09:24:49 -05'00'
Printed Name of Plaintiff: Keith V. Otto

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James Sacher
Attorney at Law
EQU,
June 14, 2019 OPPORTUNTTY SORA ON
DALLAS DIGTRIGT

CRTIU Supervisor, U.S. Equal Employment Opportunity Commission, Dallas
District Office, 207 S. Houston Street, Ste. 3 floor, Dallas, Texas 75202

via hand delivery RECE| VED

Re: Letter of representation in Keith Otto v. Collin College, JUN 14 2019
Ch No. 450-2019- QUAL EMPLOYMe
arge No OPPORTU COMM ne a

Dear Sir or Madam, er
This letter informs the EEOC that James (“Jim”) Sacher is my lawyer regarding

my Charge and I have enclosed my signed Charge. When I submit the Intake
Questionnaire, it will identify witnesses and other relevant evidence. If the
Respondent is interested in utilizing the EEOC’s mediation program, I will
participate along with my counsel, Jim Sacher.

Also, if Respondent submits a position statement in response to my Charge, I hope
the assigned investigator could send a copy of that Position Statement and the
disclosable documents to Jim Sacher and me (unless we can access it at the public
portal.)

This letterhead provides Jim Sacher’s contact information but for ease of reference,
Jim Sacher can be reached at jsacher997@gmail.com and at 713 398-3775. His
mailing address is James Sacher, 5300 N. Braeswood Blvd, Suite 4, #5003,
Houston, TX 77096. Thank you for your consideration.

Sincerely yours,
Keith Otto
Enclosure: Charge

cc: Attorney James Sacher

Admitted to practice law in Texas | phone 713 398-3775 | jsacher997@gmail.com

 

§300 N. Braeswood Blvd, Ste 4 #5003, Houston, TX 77096

EXHIBIT A
 

‘GEOG Form 5 (5/01)

CaseS Ane OF DISCRIMINATION 2 Filed 11/4GP age Rasenea re: 13 Rgareyees) Charge No(s):

This form Is affected by the Privacy Act of 1974. S closed Privacy Act 0 9
‘Statement and iat thorvadbn before compiling this im A oni 450-2019-04969
X| EEOC

Texas Workforce Commission Civil Rights Division and EEOC
State or local Agency, if any
Name (indicate Mr, Ms., Mrs.) Home Phone (inci. Area Code) Date of Birth

Mr. Keith Otto (214) 636-9996 9/10/1967
Street Address City, State and ZIP Code

514 Wentworth Drive, Richardson, Texas 75081

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That | Believe
Discriminated Against Me or Others. (/f more than two, list under PARTICULARS below.)

Name No, Employees, Members Phone No. (include Area Code)
Collin County Community College, McKinney, TX Over 500 (972) 758-3856
Street Address City, State and ZIP Code Eg, C

3452 Spur 399, 3 floor McKinney, Texas 75069 Ey
Name No. Employees, re Phone ¥o, Area Code)
Uy

4
Street Address City, State and ZIP Code FO ZO
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On,
DISCRIMINATION BASED ON (Check appropriate box(es).) DATE( TOOK PLACE
Eariest Vor On Latest

[x] RACE [| COLOR [] SEX [| RELIGION [x] NATIONAL ORIGIN 3/ (2016 12/ {2018
[x] RETALIATION [x] AGE [x] DISABILITY [x] OTHER (Specify below.)

Retaliation, Harassment, Hostile Environment, and [x] CONTINUING ACTION
THE PARTICULARS ARE (if additional paper is needed, attach extra sheet(s))

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

I am an African American male. I was born in Antigua and moved to the United States when I was 15 years old.
On May 13, 2015, Collin County Community College (or “the College”) hired me as a business advisor for its
Collin Smal! Business Development Center (“Collin SBCD” or “Center”). My supervisor was the Center’s
manager, Ms. Marta Gomez Frey. Supervisor Gomez Frey arbitrarily disciplined me and later terminated me,
relying heavily on her falsely claiming that my database entries violated standards mandated by our funding
source: Collin SBCD (‘the Center”) is a subcontractor of the North Texas Small Business Development Center
(“NTSBDC”), which provides most of the Center’s funding from grants which it receives from the United States
(“federal”) and Texas state government. In late December, 2018, the College upheld Ms. Gomez Frey’s
termination of my employment.

Supervisor Gomez Frey created a hostile work environment against me and discriminated against me because of
my race and disability. She frequently tasked her staff, my co-workers, to monitor my database entries and report
any supposed shortcomings to her. She showed continual favoritism toward the white co-workers, sometimes
transferring my clients to them, and not holding them to important standards. Amongst other things, Ms. Gomez
Frey ordered those white co-workers to search my database in Neoserra to document any instances when I did
not enter certain client data within five days of assisting those clients. Neither I nor the other black professional
were ever tasked to monitor the white co-workers’ databases. Moreover, she overlooked those white co-workers’
failure to meet certain performance benchmarks which I routinely satisfied. And she manipulated the
promotional requirements and then she preselected and promoted a white business advisor, passing over a
subsequently hired very qualified black co-worker.

Supervisor Gomez Frey’s office adjoined mine. Despite knowing about my disability, she undermined my
productivity by frequently interrupting my work efforts. I tried to remedy this problem and sought appropriate
work accommodations. But Ms. Gomez Frey unreasonably opposed my requests for reasonable accommodation
and leave, including under the Family Medical Leave Act. After my emergency hospital admission for heart

 

 
 

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February, 2018.

In late 2017, Ms. Frey tried to cover up a white male business advisor’s threatening behavior toward me. All co-
workers saw this co-worker screaming and cursing at me in an office meeting: then he jumped up, bolted from
our meeting and left work for the day. His unprovoked misconduct was a clear violation of Collin SBCD
Standards which warranted his written discipline. Though it was clearly a reportable event, Ms. Gomez Frey tried
to cover up his misconduct by not reporting it. Then she tried to undermine the subsequent investigation of his
misconduct by the human resources (hr) generalist assigned to our unit. That hr generalist conducted an
independent investigation by interviewing all unit members. Her investigation disclosed Ms. Frey's efforts to
cover up the white co-worker’s threatening behavior toward me. As a result, that white male co-worker was
given step one written discipline over Ms. Frey’s objections. But I doubt Ms, Gomez Frey was disciplined for
her attempted cover-up.

In ‘mid 2018, this same hr generalist discovered Ms. Gomez Frey had lied to her by claiming that the NTSBDC
was requiring her to impose a timeliness standard on me concerning typing notes into the Neoserra database. Ms.
Frey falsely claimed that those entries had to be made within five days of the actual client contact so she had to
discipline me when I did not complete the entries in that time frame. Of course, she did not discipline my white
male coworkers when they did not meet supposed mandatory requirements. None of my co-workers were spied
on, or placed under this pressure by Ms. Frey. In fact, the NTSBDC leadership told the hr staffer in the Spring of
2018 that, in response to my ADA accommodation request, it was appropriate to permit me to enter details of
client contact within five work days in the month following the month in which I had met with the agency client
(the 5 day rule). Ms. Gomez Frey had perennially falsely claimed those entries had to be made within five days

of the actual contact.

Shortly after this hr staffer reported Ms. Gomez Frey’s misrepresentations, that staffer was abruptly involuntarily
transferred to another campus. So despite how much she had learned about my mistreatment, she was removed
from investigating human resources activities in my workplace, the Collin SBCD. The hr generalist who
replaced her had no interest in assuring that 1 would be treated fairly by a supervisor who had been caught lying
to the hr department and Collin College leadership in general. My last request for accommodation was made in
‘mid March, 2018, immediately following my month long FMLA absence. But it was not approved until
August, 2018 (and, even then, it fell short of my request.) I was never given that accommodation. If I had
timely obtained the accommodation, I would have met reasonable performance expectations; this, in turn,
would have undermined Ms. Frey’s excuse for firing me. So her most recent obstruction of the ADA
accommodation process effectively denied me the accommodation: she delayed my obtaining warranted
accommodation for over six months and, then, when it was only approved in part, she never permitted its
implementation. So when Ms. Gomez Frey recommended my firing in ‘mid October, 2018, I had not received
the requested accommodation for seven months. So | was not accommodated for more than half of the rating
period because Ms. Frey thwarted me, but that did not stop Ms. Gomez Frey from imposing performance
standards for a full year to “justify” the unacceptable rating she used to support my termination.

Ms. Gomez Frey imposed a hostile environment on me and fired me because of my disability, my race, African
American, and my effort to fairly obtain accommodations. She illegally obstructed the accommodation process.
She persistently lied to and manipulated the College’s human resource professionals and Collin College
management. Ultimately, she succeeded. Ms. Gomez Frey used her “cat’s paws” to manipulate higher level
Collin College management. I would still be an employee of the Collin SBDC if she had followed NTSBDC
guidance. Her abuse could threaten that funding. If Ms. Frey had not lied to Collin College, she would not have
been able to issue bogus performance discipline, without which my subsequent termination would not be
sustainable. Around the time she fired me, she also impermissibly promoted the same white co-worker who had
assaulted me a year earlier.

 

 

 
 

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Then she cynically revised the promotional job description to require that particular training. In so doing, Ms.
Frey blocked an experienced African American female business advisor from applying for that same promotion.
On December 4, 2018, that black co-worker testified she quit because of Ms, Gomez Frey’s referenced
misconduct.

TT

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| want this charge filed with both the EEOC snd the Stale or local Agency, if any. |
will advise the agencies if 1 change my address or phone number and | will cooperate
fully with them in the processing of my charge In accordance with thelr procedures.

NOTARY — When necessary for Slate and Local Agency Requirements

 

 

 

1 declare under penalty of perury that the above is true and correct,

aly AB

Charping Party Signature

 

| swear or affirm that | have read the above charge and that it is true to
the best of my knowledge, information and belief.

wi BZ

RIBED ANO SWORN TO BEFORE ME THIS DATE

(month, day. year)
qa Se, KIMARIO O. BLAKE |

   

 

EEOC Form 5 (5/01)

 

 
 
  

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Privacy Act STATEMENT: Under the Privacy Act of 1974, Pub. Law 93-579, authority to request
personal data and its uses are:

1. Form NumpBer/Titue/Date. EEOC Form §, Charge of Discrimination (5/01).
2.  AuTHORITY. 42 U.S.C, 2000e-5(b), 29 U.S.C. 211, 29 U.S.C. 626, 42 U.S.C, 12117,

3. PRINCIPAL PURPOSES. The purposes of a charge, taken on this form or otherwise reduced to
writing (whether later recorded on this form or not) are, as applicable under the EEOC anti-
discrimination statutes (EEOC statutes), to preserve private suit rights under the EEOC statutes, to
invoke the EEOC's jurisdiction and, where dual-filing or referral arrangements exist, to begin state or
local proceedings.

4. Routine Uses. This form is used to provide facts that may establish the existence of matters
covered by the EEOC statutes {and as applicable, other federal, state or local laws). Information
given will be used by staff to guide its mediation and investigation efforts and, as applicable, to
determine, concillate and litigate claims of unlawful discrimination. This form may be presented to or
disclosed to other federal, state or local agencies as appropriate or necessary in carrying out
EEOC's functions. A copy of this charge will ordinarily be sent to the respondent organization
against which the charge is made.

5. WHETHER DISCLOSURE IS MANDATORY; EFFECT OF NOT GIVING INFORMATION, Charges must be
reduced to writing and should identify the charging and responding parties and the actions or policies
complained of. Without a written charge, EEOC will ordinarily not act on the complaint. Charges
under Title VII or the ADA must be sworn to or affirmed (either by using this form or by presenting a
notarized statement or unsworn declaration under penalty of perjury); charges under the ADEA
should ordinarily be signed. Charges may be clarified or amplified later by amendment. It is not
mandatory that this form be used to make a charge.

NOTICE OF RIGHT TO REQUEST SUBSTANTIAL WEIGHT REVIEW

Charges filed at a state or local Fair Employment Practices Agency (FEPA) that dualfiles charges
with EEOC will ordinarily be handled first by the FEPA. Some charges filed at EEOC may also be
first handled by a FEPA under worksharing agreements. You will be told which agency will handle
your charge. When the FEPA is the first to handle the charge, it will notify you of its final resolution
of the matter. Then, if you wish EEOC to give Substantial Weight Review to the FEPA's final
findings, you must ask us in writing to do so within 15 days of your receipt of its findings. Otherwise,
we will ordinarily adopt the FEPA's finding and close our file on the charge.

NOTICE OF NON-RETALIATION REQUIREMENTS

Please notify EEOC or the state or local agency where you filed your charge if retaliation is taken
against you or others who oppose discrimination or cooperate in any investigation or lawsuit
concerning this charge. Under Section 704(a) of Title VII, Section 4(d) of the ADEA, and Section
503(a) of the ADA, it is unlawful for an employer to discriminate against present or former employees
or job applicants, for an employment agency to discriminate against anyone, or for a union to
discriminate against its members or membership applicants, because they have opposed any
practice made unlawful by the statutes, or because they have made a charge, testified, assisted, or
participated in any manner in an investigation, proceeding, or hearing under the laws. The Equal Pay
Act has similar provisions and Section 503(b) of the ADA prohibits coercion, intimidation, threats or
interference with anyone for exercising or enjoying, or aiding or encouraging others in their exercise
or enjoyment of, rights under the Act.
